             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                   ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



         THIS MATTER is before the Court on the Government’s First Motion

in Limine [Doc. 183], filed February 26, 2009.

         In this motion, the Government seeks a series of evidentiary rulings

in advance of trial. The Court is unable to make such rulings until such

time as an attempt is made to introduce the evidence.

         IT IS, THEREFORE, ORDERED that the Government’s First Motion

in Limine [Doc. 183] is hereby DENIED without prejudice to renewal during

trial.




                                        Signed: March 20, 2009




     Case 3:07-cr-00211-MR-DCK     Document 217         Filed 03/20/09   Page 1 of 1
